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 6                        IN THE UNITED STATES DISTRICT COURT

 7                                  DISTRICT OF ARIZONA
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 9   United States of America,                        No. CR-20-00634-1-PHX-DWL
10                  Plaintiff,                                    ORDER
11           vs.
                                                               (First Request)
12   Jill Marie Jones,
13                  Defendant.
14
             Upon motion of Defendant, with no objection from the Government, and good
15
     cause appearing,
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             IT IS ORDERED granting Defendant’s Motion to Extend Time to File Objections
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     to Presentence Report (Doc. 124), for the reasons stated in Defendant’s motion.
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             IT IS FURTHER ORDERED extending the time to file objections to July 18,
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     2023.
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             Dated this 19th day of May, 2023.
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